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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

EASTERN DIVISION
UNITED STATES OF
AMERICA,
Plaintiff, Case No. 2:19-cr-053
CHIEF JUDGE EDMUND A. SARGUS, JR.
Magistrate Judge Kimberly A. Jolson
v.

ANDREW K. MITCHELL,
Defendant.
ORDER

This matter is before the Court for consideration of the Government’s Motion for
Protective Order for Docurnents Produced During Discovery. (ECF No. 19). The Government
represents that it has “collected numerous financial records from banking institutions and other
sources” Which “contain sensitive and confidential information, including, but not limited to:
bank statements, social security numbers, and other personal identification information.” (Id.).
Accordingly, the Government requests the Court issue a protective order mandating that any
confidential information produced pursuant to its discovery obligations be used only for defense
preparation. The Government contends the protective order Would promote efficiency because
“redaction of this information is unduly burdensome.” (Id.). Defendant Andrew K. Mitchell
does not oppose the Motion.

Pursuant to Federal Rule of Criminal Procedure l6(d)(1), the Court may restrict
discovery or inspection For good cause shown, the Government’s Motion is GRANTED.
(ECF No. 19). The Court hereby ORDERS that any confidential financial or personal

identification information produced by the Government may only be used for the purpose of

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defense preparation. In addition, this confidential information may only be distributed for the
purpose of defense preparation.

IT IS SO ORDERED.

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DATE EDMICND»A. sARGUs, JR.
CHIEF UNITED sTATEs DISTRICT JUDGE

